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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    KEVIN O’SHEA, et al.,                              Case No. 16-cv-01668-JSW
                                                        Plaintiffs,
                                   8
                                                                                           ORDER DISCHARGING ORDER TO
                                                 v.                                        SHOW CAUSE RE PRO HAC VICE
                                   9
                                                                                           APPLICATION OF RAFEY S.
                                  10    24 HOUR FITNESS USA, INC.,                         BALABANIAN, ESQ.
                                                        Defendant.                         Re: Dkt. Nos. 14, 21
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            On May 19, 2016, the Court issued an order to show cause regarding the pro hac vice

                                  14   application of Rafey S. Balabanian, Esq. On May 26, 2016, Mr. Balabanian filed a response to the

                                  15   order to show cause. The deadline for Defendant to file an optional response has passed, and

                                  16   Defendant has elected not to respond.

                                  17            Upon review of the record, the response to the order to show cause, and Civil Local Rule

                                  18   11-3(b), the Court hereby DISCHARGES the order to show cause. It is ambiguous whether Mr.

                                  19   Balabanian’s circumstances fall within the scope of the exception to disqualification under Local

                                  20   Rule 11-3(b). However, in any event, Local Rule 11-3(b) provides that individuals otherwise

                                  21   disqualified under section (b) may be “authorized . . . by an order of the assigned judge” to be

                                  22   “eligible for permission to practice pro hac vice.” The Court finds that here, where Mr.

                                  23   Balabanian has passed the California bar exam and is awaiting the results of his application for

                                  24   determination of moral character, such authorization is warranted.

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                                          Case 4:16-cv-01668-JSW Document 29 Filed 06/08/16 Page 2 of 2




                                   1          The Co
                                                   ourt will gran
                                                                nt Mr. Balab
                                                                           banian’s pro hac vice appplication by separate ordder.

                                   2          IT IS SO
                                                    S ORDER
                                                          RED.

                                   3   Daated: June 8, 2016

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                                                                                                    EFFREY S. W  WHITE
                                   6                                                               Unnited States D
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Northern District of California
 United States District Court




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